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                                           Closing


CREDITS/SELLERS:
Purchase Price....................                   $6,800,000.00
Real Estate Tax 1501
($4,814.35 / 92 = $52.33 /day x 105)                        5,494.65
Real Estate Tax 1502
($7,197.06/ 184 = $39.12 /day x 105)                        4,107.60
TOTAL CREDIT SELLER:                                                   $6,809,602.25

CREDIT/PURCHASER:
Deposit Paid by Purchaser.........                   $ 340,000.00

TOTAL CREDIT PURCHASER:                                                $340,000.00
Total Due Seller at Closing                                            $6,469,602.25

BALANCE PAID TO SELLER AS FOLLOWS:
Plan Administrator to wire to Royal $ 340,000.00
Purchaser to wire to Royal            $6,469,602.25
                                      $6,809,602.25
To be disbursed:
Royal Abstract (Title Invoice)                               $   218,442.80
Lot 1502:
       January 2022                        $ 6,316.71
       July 2022                           $ 7,325.16
       (adjusted with Purchaser)           $13,641.87
Lot 1501:
       All open taxes; unsold tax lien
       (adjusted July 2022 with Purchaser) $62,872.54
Lot 7506:
       Overall lot for misc condo charges
               Registration Fee            $      13.00
               Fire Dept.                  $ 1,114.15
               Registration Fee            $      13.00
               Open Water/Sewer            $ 43,178.24
               Tax Lien Payoff             $ 97,000.00
               Total                       $217,832.80

                    Recording Fee            $    460.00
                    ACRIS Document Prep.     $    150.00




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Mark Frankel as Plan Administrator                     $493,000.00
      U.S. Trustee                      $ 68,000.00
      Backenroth Frankel & Krinsky,
      LLP`                              $100,000.00
      Trustee Reserve                   $325,000.00



Due Seller                                             $6,469,602.25
Less Seller Expenses:
       Royal Abstract                   $218,442.80
       Plan Administrator               $493,000.00
                                                       ($ 711,642.80)
To Mortgagee                                           $5,758,159.45




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